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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                    *
 vs.                                              *   Case No.: 22-15-APM
 THOMAS E. CALDWELL                               *
        *       *      *       *      *       *       *        *       *      *       *

                                             ORDER
        Upon consideration of the Defendant’s Motion to Modify Conditions of Release, it is
 hereby ordered by the United States District Court for the District of Columbia that the Motion is
 GRANTED and that the Defendant’s Order Setting Conditions of Release is hereby modified as
 follows:
        (1) The requirement that the Defendant submit to GPS monitoring under Paragraph 7(q)
            shall be stricken and removed as a condition of release.
        (2) The Defendant is permitted to travel, without seeking approval from his supervising
            officer, up to 150 miles away from his residence, except that he must stay away from
            the District of Columbia unless granted permission by his supervising officer or the
            Court or is required to appear before the Court.
        (3) The Defendant’s restrictions on the use of internet-connected devices under
            Paragraph 7(t) shall be stricken and removed as a condition of release.
        (4) All other conditions shall remain the same.



        __________________                    ____________________________________
        Date                                  Honorable Amit P. Mehta
                                              United States District Court
